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                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA


  JEFFREY TOOLE,                                       Case No. 22-cv-01243-VC
                  Plaintiff,
                                                       ORDER GRANTING MOTION TO
           v.                                          DISMISS
  AFFIRM HOLDINGS, INC., et al.,                       Re: Dkt. No. 70
                  Defendants.



        The motion to dismiss is granted. The complaint does not even come close to satisfying

the PSLRA’s scienter requirement. Indeed, the context (quickly taking down the tweet and

accelerating the earnings release) creates a far more compelling inference that the company

reacted quickly to correct a mistake that was embarrassing but not nefarious.

        Arguably, this is the rare PSLRA case where dismissal with prejudice would be

appropriate at the outset, because it is so difficult to imagine that the plaintiffs will ever be able
to state a claim. But in an abundance of caution, the plaintiffs will be given leave to amend. Any

amended complaint must be filed within 21 days of this ruling, with a response due 21 days after

the amended complaint is filed.

        IT IS SO ORDERED.

Dated: September 28, 2022
                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
